Case 1:02-cv-08881-.]PO Document 250 Filed 03/25/19 Page 1 of 2

SPERLlNG & SLATER

PROFE$S|ONAL CORF'ORAT|ON

TE\_EPHONE
(312) 641-3200
FAcSlM\Ll-:
(3|2) 641-6492

55 WEST MoNRo:-: STREET
SulTE 3200
CH|CAGO, |L 60603

March 25, 2019

VIA ECF

Honorable J. Paul Oetken
Thurgood Marshall
United States Courthouse
40 Foley Square

New York, NY 10007

Re: Silvercreek Management, Inc., et al. v. Citigroup, Inc., et al.
Case N0. 02-CV-8881-JPO

Dear Judge Oekten:

We represent Plaintiffs in the above captioned matter. We are pleased to inform the
Court that we have reached an agreement-in-principle to settle with one of the two remaining
defendants, Richard Causey. We are still negotiating with counsel for the other defendant,
Jeffrey Skilling. To allow those remaining negotiations to run their course, we request another
brief extension of the summary judgment motion filing schedule. Specifically, we request that
the summary judgment schedule be modified as follows:

¢ The time for Plaintiffs to file a summary judgment motion as to Defendant Skilling be
extended from March 29, 2019 to April 8, 2019. The time for Plaintiffs to provide
Defendant Skilling with complete copies of Plaintiffs’ summary judgment evidence
and discovery responses be likewise extended to April 8, 2019.

¢ The time for Defendant Skilling to file his opposition to Plaintiffs’ summary
judgment motion be extended from June 17, 2019 to June 27, 2019.

v The time for Plaintiffs to their reply brief in support of their summary judgment
motion be extended from July 12, 2019 to July 19, 2019.

Separately, Plaintiffs will file a Fed.R.Civ.P. 41(a)(1)(A)(ii) stipulation voluntarily
dismissing Defendant Causey as soon as the settlement documentation has been completed

Case 1:02-cv-08881-.]PO Document 250 Filed 03/25/19 Page 2 of 2

SF>l-:RL_lNG & SLATER>

Honorable J. Paul Oekten March 25, 2019
Page 2

Counsel for Plaintiffs has consulted with the respective counsel for Defendants Causey
and Skilling, and Defendants have no objection to this letter motion.
Respectii.llly submitted,
07 y }Q)é%
Eugene J. Frett

cc: Counsel of Record (via ECF)

